Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 1 of 7 Page ID #:7




                      EXHIBIT A
                                                                                 007
Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 2 of 7 Page ID #:8




               LOPEZ, BARK & SCHULZ LLP
               Harry J. Schulz, HI, Esq. (SEN 205625)
           2      hschulz@lbslawyers.com                                                FILED
     D.        Michael E. Lopez, Esq. (SEN 214937)                             Superior Court of CaBforria
     CO                                                                          County of Los Argates
     CD           mlopez@lbslawyers. com
     CN        Brian Z. Bark, Esq. (SBN,217514)                                      11/24/2021
           4                                                           ESiariR. C&tai'.ExaauGYaOSaif/ O^tkafCaul
                  bbark@lbslawyers. com
     CN                                                                                N. OsoSo
     o     5   James P. Miller, Esq. (SBN 307189)                        By:                            Dejyirty
     CN
                 jm iller@lbslawyers. com
     Cl    6
               300 Spectrum Center Drive, Suite 1550
     ■a    7   Irvine, CA 92618
     0)
     >         (949) 383-9585 phone
     O)    8   (714)242-1544 fax
     o
     cu
     d;    9   Attorneys for Plaintiff, Terrance Robinson
     CD
     o    10
     ’c
     P    11
     ■G                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
     OJ
     LU   12                             FOR THE COUNTY OF LOS ANGELES
          13              STANLEY MOSK COURTHOUSE - CENTRAL JUDICIAL DISTRICT
          14

Q-        15 TERRANCE ROBINSON,                             )         CaseNo.21STCV26712
CO
o                                                           )I
<N
          16                Plaintiff,                       )        Hon. Dennis J. Landin
                                                             )        Department 51
<N        17         V.                                      )I
O
e?                                                          )         FIRST AMENDED COMPLAINT FOR
          18 STATE FARM GENERAL INSURANCE                   )         DAMAGES
Cl
T3
0)
>
          19
             COMPANY,
                       Defendant.
                                                            S
                                                            )
                                                                      (Compensatory and Punitive)
                                                                      1. BREACH OF CONTRACT;
          20
s                                                                        BREACH OF THE IMPLIED
                                                                         COVENANT OF GOOD FAITH AND
          21                                                )            FAIR DEALING; and
sc
 o
is
          22                                                 J
                                                             )
                                                                      3. DECLARATORY RELIEF
                                                                      Complaint Filed: July 20, 2021
 o        23                                                 )        Trial Date: None
0)
UJ
          24

          25

          26         Plaintiff Terrance Robinson ("Robinson” or “Plaintiff”) complains against Defendant State
          27 Farm General Insurance Company (“State Farm” or “Defendant”) as follows:

          28


                                                                  1
                                         FIRST AMENDED COMPLAINT FOR DAMAGES




                                                                                                                   008
Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 3 of 7 Page ID #:9




          1                                    JURISDICTION AND VENUE
          2           1.     At all relevant times, Defendant State Farm was and is a corporation organized and
          3 existing under and by virtue of the laws of the State of Illinois, and was authorized to transact and
          4 was transacting the business of insurance throughout the State of California, County of Los
          5 Angeles.
          6           2.     Venue is proper in this Court pursuant to CCP § 395.5 because Defendant’s
          7 obligation to perform, and the conduct giving rise to liability arose, in this County.
          8                                      FACTUAL BACKGROUND
          9           3.     On or about, October 11, 2019, Plaintiff applied for insurance with Defendant to
         10 cover a gold and diamond necklace valued at $67,000.
         11           4.     State Farm issued coverage for the necklace under Personal Articles Policy Nimiber
         12 75-GS-S979-8, covering the period between October 22, 2019 and October 22,2020.
         13           5.     On May 26, 2020, Plaintiff was the victim of a robbery in which his necklace was
         14 stolen.
         15           6.     Instead of providing the coverage State Farm promised, by way of letter dated July
         16 21,2020, State,Farm denied coverage stating that, “[b]ased on the decision of the State Farm
         17 Underwriting Department to rescind your policy, we hereby reject and deny the above referenced
         18 claim due to there not being an active policy on the date of loss.
         19           7.     State Farm’s purported rescission was wrongful. Among other things:
         20                  a.      The application question that State Farm based its rescission on was both
         21 confusing and answered by Plaintiff truthfully. In response to the question at issue, “[h]as the
         22 applicant or any household member had any losses, insured or not, in the past 3 years,” Plaintiff
         23 notified State Farm’s agent of a prior claim with the Automobile Club, a claim for which
         24 Automobile Club had advised Plaintiff that nothing was owed. State Farm’s agent advised
         25 Plaintiff that such matter did not rise to the level that needed to be included on the application.
         26                  b.      State Farm was fiilly aware of the prior Automobile Club claim by virtue of

         27 being a member of Comprehensive Loss Underwriting Exchange (“CLUE”). Per the CLUE report
         28 obtained through Lexis Nexus (to which State Farm subscribes), both this matter and the prior

                                                                2
                                          FIRST AMENDED COMPLAINT FOR DAMAGES




                                                                                                                    009
Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 4 of 7 Page ID #:10




               Automobile Club matter, are listed. Thus, State Farm was directly aware of the Automobile Club
           2 matter at the time it issued the policy.
           3                   c.      State Farm continued to collect premiums from Plaintiff after it purported to
           4 rescind coverage effective July 13, 2020, including by way of payment collected on July 29,2020,
           5 for $150.74.
           6                   d,      State Farm attempted to wrongfully convert and keep Plaintiff’s premiums
           7 after purporting to “rescind” coverage. Indeed, it was not until Mr. Robinson obtained counsel and
           8 sought an accounting of premiums that State Farm attempted to cover its wrongful and illegal

           9 conduct by belatedly sending Robinson a check - which was processed on December 16,2020,
          10 days after counsel for Plaintiff asked State Farm for an accounting.
          11           8.      State Farm’s conduct since purporting to rescind coverage continues to be
          12 despicable. For example, in response to Plaintiff’s letter of February 24,2021, State Farm
          13 promised on March 11,2021, to look into the circumstances surrounding the rescission and

          14    respond accordingly.” State Farm never did so. Neither did State Farm respond to a follow-up
          15 letter sent on June 10,2021. Instead, on June 14, 2021, State Farm called and advised that it would
          16 be sending a response shortly. State Farm delayed further. Likewise, State Farm never advised
          17 Plaintiff of any deadlines to bring an action under the policy and further refused to provide counsel
          18 for Plaintiff with a copy of the policy, thereby forcing Plaintiff to file this suit in advance of the
          19 one-year anniversary of State Farm’s denial, just on the offside chance that the policy contains an
          20 undisclosed contractual limitations period. Incredibly, when State Farm finally did respond (after
          21   this suit was filed), it appears to have purposefully waited until after a year in an effort to give
          22 itself the benefit of an undisclosed contractual limitations period
          23           9.      Plaintiff has paid all premiums and has duly performed and complied with all terms
          24 and conditions of the State Farm policy, and/or such performance has been excused including
          25 because of State Farm’s conduct as alleged herein, and Plaintiff is entitled to the full benefits and

          26 provided by the State Farm policy.
          27 //

          28 //


                                                                  1
                                            FIRST AMENDED COMPLAINT FOR DAMAGES




                                                                                                                       010
Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 5 of 7 Page ID #:11




           1                      FIRST CAUSE OF ACTION - BREACH OF CONTRACT
           2           10.    Plaintiff repeats and incorporates by reference the allegations of paragraphs 1
           3   through 9 above.
           4           11.    Pursuant to the terms of the State Farm policy, State Farm is obligated to pay for
           5 the loss of the necklace.

           6           12.    State Farm has breached its insurance contract by wrongfully claiming to rescind
           7 the policy and by denying coverage,

           8           13.    As a direct result of State Farm’s breach of its insurance contract, Plaintiff has been
           9 deprived of the full benefits of insurance coverage.
          10           14.    Plaintiff has suffered damages in excess of $67,000, including the value of the
          11 stolen necklace, loss of use of the necklace, and such other damages to be proven at trial.
          12           SECOND CAUSE OF ACTION - BREACH OF THE IMPLIED COVENANT
          13                               OF GOOD FAITH AND FAIR DEALING
          14           15.    Plaintiff repeats and incorporates by reference the allegations of paragraphs 1
          15 through 14 above.
          16           16.    Implied in the State Farm policy is a covenant that Defendant will act in good faith
          17 and deal fairly with its insured; that it will do nothing to interfere with its insured’s right to receive
          18 the benefits of the policy; that it will not place its own interests above those of its insured; that it
          19 will exercise diligence, good faith, and fidelity in safeguarding the interests of its insured; that it
          20 will deal ethically with its insured; that it will promptly, fairly, equitably, and thoroughly process

          21 Plaintiffs claims; and that it will fairly and adequately inforni Plaintiff of the nature and scope of
          22 insurance coverage (herein referred to as “the implied covenant of good faith and fair dealing”).

          23          17.     Defendant has breached the implied covenant of good faith and fair dealing by
          24 engaging in the conduct alleged herein.

          25           18.    Plaintiff is informed and believes and thereon alleges, that State Farm breached the
          26 implied covenant of good faith and fair dealing, and did the things and committed the wrongful

          27   acts alleged above, for the purpose of willfully and consciously withholding from Plaintiff the
          28 rights and benefits to which it is entitled under the State Farm policy, and in complete disregard of


                                                            4
                                           FIRST AMENDED COMPLAINT FOR DAMAGES




                                                                                                                          011
Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 6 of 7 Page ID #:12




           1 said rights. la so doing, State Farm has placed its own interests above those of Plaintiff for the
           2 purpose of retaining money that should have been paid to Plaintiff.
           3           19.    Under Brandt v. Superior Court, 37 Cal. 3d 813 (1983), Plaintiff is entitled to
           4 recover all costs, its attorneys’ fees and expenses that it has incurred and will incur to obtain the
           5 benefits of insurance that have been, and continue to be, wrongfully and in bad faith withheld by
           6 Defendant.
           7           20.    The despicable conduct alleged herein was done with a willful and conscious
           8 disregard of Plaintiff s rights and with the intent to vex, injure or annoy Plaintiff, such as to

           9 constitute oppression, fraud, or malice under California Civil Code section 3294. Thus, Plaintiff is
          10 entitled to punitive damages in an amount appropriate to pimish or set an example of State Farm.
          11                    THIRD CAUSE OF ACTION - DECLARATORY RF.T .TKF
          12           21.    Plaintiff repeats and incorporates by reference the allegations of paragraphs 1
          13   through 20 above.
          14           22.   An actual controversy has arisen and now exists between Plaintiff and State Farm
          15 regarding State Farm’s purported rescission of the State Farm policy and denial of coverage.
          16           23.    Plaintiff contends that State Farm’s rescission claim is both wrongful and
          17 ineffective, and that instead State Farm is obligated to provide the coverage promised under its
          18 policy.
          19           24.    Despite repeated correspondence. State Farm refuses and continues to refuse to
          20 provide coverage.

          21                                        PRAYER FOR RELIEF
          22           1.     Compensatory and general damages according to proof;
          23           2.     Special and incidental damages according to proof;
          24           3.    Prejudgment interest at the maximum legal rate;
          25           4.    Punitive damages in amounts appropriate to set an example of Defendant due to its
          26 despicable conduct;

          27           5.    For costs and attorneys’ fees;
          28


                                                           5
                                          FIRST AMENDED COMPLAINT FOR DAMAGES




                                                                                                                     012
Case 2:22-cv-00033-JAK-MAA Document 1-1 Filed 01/03/22 Page 7 of 7 Page ID #:13




           1         6.      For a declaration that the State Fartn policy is not rescinded and provides coverage
           2 for the loss;
           3         7.      For such other and further relief as the Court deems just and proper.
           4
           5 Dated: November 24, 2021                                LOPEZ, BARK & SCHULZ LLP
           6

           7                                                                      %
                                                               By:
           8                                                         Brian Z. Bark
                                                                     Attorneys for Plaintiff, Terrance Robinson
           9
          10
          11
          12
          13
          14
          15
          16
          17
          18

          19
          20
          21
          22
          23
          24

          25

          26

          27
          28


                                                               6
                                         FIRST AMENDED COMPLAINT FOR DAMAGES




                                                                                                                    013
